Case 1:16-cr-00037-JHM-HBB Document 110 Filed 05/07/19 Page 1 of 4 PageID #: 387




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF KENTUCKY
                         BOWLING GREEN DIVISION


                                           :
 UNITED STATES OF AMERICA                  :
                                           :
                     PLAINTIFF             :   Criminal Action No. 1:16CR-00037-JHM
 v.                                        :   JUDGE JOSEPH H. MCKINLEY, JR.
                                           :
 MICHAEL T. BARRICK                        :
                                           :
                     DEFENDANT             :
                                           :


                                       ORDER

       This matter came before the Court on May 6, 2019, for a change of plea
 hearing. There appeared Mr. David R. Weiser, Assistant United States Attorney,
 and Defendant, Michael T. Barrick, pro se. These proceedings were digitally
 recorded.
       The Defendant, by counsel, advised the Court of his desire to withdraw his
 previously entered plea of not guilty and enter a plea of guilty as to each of Counts
 1 through 5 in the Indictment, pursuant to a Rule 11(c)(1)(B) plea agreement.
       The Court having found the Defendant competent to enter the plea; having
 found the plea to be knowing, voluntary and with the advice of counsel; having
 advised the Defendant of his constitutional rights and the Defendant having
 advised the Court he understood and waived those rights; having advised the
 Defendant he would not be allowed to withdraw his plea; and having established a
 factual basis for the plea,
       IT IS HEREBY ORDERED that the Court accepts the Defendant=s plea of
 guilty as to each of Counts 1 through 5 in the Indictment, pursuant to a Rule
 11(c)(1)(B) plea agreement executed by all parties to this action. The plea
Case 1:16-cr-00037-JHM-HBB Document 110 Filed 05/07/19 Page 2 of 4 PageID #: 388




 supplement shall be filed under seal. The jury trial scheduled for May 14,
 2019, is vacated.
       In order to proceed under the Sentencing Reform Act of 1984 (Pub. L.
 98-473, Title II, c. 2, Sections 211-239), 18 U.S.C. Sections 3551-3559,
       IT IS HEREBY FURTHER ORDERED as follows:
       1.     Sentencing proceedings are set in this case on August 15, 2019, at
 9:30 AM CDT, U.S. Courthouse, Bowling Green, Kentucky.
       2.     Not less than thirty-five (35) days prior to the date set for sentencing,
 the Probation Officer shall provide a copy of the Presentence Investigation Report
 to the defendant and to counsel for both the defendant and the United States.
 Within fourteen (14) days thereafter, counsel shall communicate, in writing, to the
 Probation Office and to opposing counsel any objections they may have as to any
 material information, sentencing classifications, sentencing guideline ranges, and
 policy statements contained in or omitted from the Report.
       3.     After receiving counsel's objections, the Probation Officer shall
 conduct any further investigation and make any revisions to the Presentence
 Report that may be necessary. The Probation Officer may require counsel for
 both parties to meet with the officer to discuss unresolved factual and legal issues.
       4.     Prior to the date of the sentencing hearing, the Probation Officer shall
 submit the Presentence Report to the sentencing Judge. The Report shall be
 accompanied by the written objections of counsel, and by an addendum setting
 forth any objections counsel may have made that have not been resolved, together
 with the officer's comments thereon. The Probation Officer shall provide a copy of
 any addendum to the Presentence Investigation Report, including any revisions
 thereof, to the defendant and to counsel for the defendant and the United States.
       5.     Not less than twenty (20) days prior to the sentencing hearing,
 the parties shall communicate with each other to discuss the scope of the
 sentencing hearing and make certain disclosures. Each party shall
 disclose to the other if it intends to argue for a non-guideline sentence.
Case 1:16-cr-00037-JHM-HBB Document 110 Filed 05/07/19 Page 3 of 4 PageID #: 389




 The parties shall disclose whether they intend to call witnesses at the
 hearing and if so, the nature of the testimony shall be revealed. The parties
 shall disclose the identity of any expert witness and exchange a written
 summary of the witness=s opinions, the bases and reasons for the opinions,
 and the witness=s qualifications.
       For any sentencing in which testimony is expected, the parties shall
 estimate the length of time required for the sentencing hearing and
 communicate same to Erica A. Skinner, Case Manager for Judge McKinley.
       6.    Not less than ten (10) days prior to the sentencing hearing, the
 parties shall file a Sentencing Memorandum in support of their respective
 positions on any unresolved objections to the Presentence Investigation
 Report, including any objections to the calculation of the advisory
 sentencing guidelines contained therein. Furthermore, in the event a
 non-guideline sentence is advocated, the Sentencing Memorandum shall
 address the factors of 18 U.S.C. ' 3553(a).
       7.    Except with regard to any objection made under Paragraph 4 that has
 not been resolved, the Report of the Presentence Investigation may be accepted
 by the Court as accurate. The Court, however, for good cause shown, may allow
 new objections to be raised at any time before the imposition of sentence. In
 resolving disputed issues of fact, the Court may consider any reliable information
 presented by the Probation Officer, the defendant or the United States.
       8.    The time set forth in this Order may be modified by the Court for good
 cause shown, except that the ten (10) day period provided for disclosure of the
 Presentence Report pursuant to 18 U.S.C. Section 3552(d) may be diminished
 only with the consent of the defendant.
       9.    Nothing in this Order requires the disclosure of any portions of the
 Presentence Report that are not disclosable under Criminal Rule 32(c).
       10.   The Presentence Report shall be deemed to have been disclosed:
             a.     When the Report is physically delivered to counsel;
Case 1:16-cr-00037-JHM-HBB Document 110 Filed 05/07/19 Page 4 of 4 PageID #: 390




                b.    One day after the Report's availability is orally communicated to
                      counsel; or

                c.    Three (3) days after notice of its availability is mailed to
                      counsel, or the date of availability reflected in the notice,
                      whichever is later.

          11.   It shall be the responsibility of counsel for the defendant to disclose
 the Report to the defendant.
          12.   The general conditions of probation as set forth in Probation Form 7A
 shall apply to the defendant if placed on probation or supervised release, and all
 persons placed on probation or supervised release shall submit to photographs by
 the Probation Officer as a condition of probation or supervised release.
          IT IS FINALLY ORDERED that the Defendant shall be allowed to remain on
 bond pending further order of the Court.



 Copies to:     Counsel of Record


   0/31
                                                                        May 7, 2019
